                                                    Case 2:20-cr-00129-JCC Document 62 Filed 06/10/21 Page 1 of 3
WA/WD PTS-NoAction
(01/19)                                                      UNITED STATES DISTRICT COURT
                                                                                          for
                                                                      Western District of Washington
Channon M argaret Aisli nn NoActi on       -
                                                          Report on Defendant Under Pretrial Services Supervision
Date of Report: 06/10/2021
Name of Defendant: Margaret Aislinn Channon                     Case Number: 2:20CR00129JCC-001
Name of Judicial Officer: The Honorable Brian A. Tsuchida, United States Magistrate Judge
Original Offense: Counts 1-5: Arson
                   Count 6: Use of Fire to Commit a Felony
                   Count 7: Obstructing Law Enforcement Officers During a Civil Disorder
Date Supervision Commenced: 07/15/2020

Bond Conditions Imposed:

                                       •   Submit to drug and alcohol testing, to include urinalysis, breathalyzer, or hand-held testing devices, as
                                           directed by Pretrial Services. You shall not use, consume, or possess alcohol, any product containing
                                           alcohol, or other intoxicants, including medication, unless prescribed to you by a physician and under
                                           the direction of Pretrial Services. Obtain an alcohol/substance abuse evaluation and follow any treatment
                                           recommendations as directed by Pretrial Services. You shall participate as directed in a program
                                           approved by the probation and pretrial services office for treatment of narcotic addiction, drug
                                           dependency, or substance abuse, which may include testing to determine if the defendant has reverted to
                                           the use of drugs or alcohol.

                                       •   Travel is restricted to the Western District of Washington, or as directed by Pretrial Services.

                                       •   Surrender all current and expired passports and travel documents to the court. Do not apply for/obtain a
                                           new passport or travel document from any country without permission of the court. If the surrendered
                                           passport is a foreign passport, it shall be forwarded to Immigration and Customs Enforcement if
                                           defendant is convicted of an offense, unless otherwise ordered by the Court.

                                       •   Maintain residence as directed. Do not change residence without prior approval of Pretrial Services or as
                                           directed by Pretrial Services.

                                       •   You are prohibited from possessing or having access to firearms and dangerous weapons. All firearms
                                           and dangerous weapons must be removed from your residence(s), vehicle(s), and place of employment.
                                           This condition operates in conjunction with any restrictions imposed under Title 18, USC 922, and the
                                           Washington State Revised Code, Chapter 9.41.

                                       •   Release on third-party custody to: Elizabeth MacGahan

                                       •   Undergo a mental health, psychiatric or psychological evaluation and follow all treatment
                                           recommendations in that evaluation, as directed by Pretrial Services. You shall take all medications as
                                           prescribed.

                                       •   You must contribute towards the costs of the services required by this bond, to the extent you are
                                           financially able to do so, as determined by Pretrial Services.

                                       •   The defendant shall abide by all federal, state, and local directives regarding the COVID-19 pandemic.
                  Case 2:20-cr-00129-JCC Document 62 Filed 06/10/21 Page 2 of 3

The Honorable Brian A. Tsuchida, United States Magistrate Judge                                             Page 2
Report on Defendant Under Pretrial Services Supervision                                                  6/10/2021

    •   The defendant shall participate in the location monitoring program with Active Global Positioning
        Satellite technology. The defendant shall comply with a curfew as directed by the location monitoring
        specialist. The defendant shall abide by all program requirements, and must contribute towards the costs
        of the services, to the extent financially able, as determined by the location monitoring specialist. The
        location monitoring specialist will coordinate the defendant's release with the U.S. Marshals.


                                    NONCOMPLIANCE SUMMARY
The defendant has not complied with the following conditions of supervision:

   •    Submit to drug and alcohol testing, to include urinalysis, breathalyzer, or hand-held testing devices, as
        directed by Pretrial Services. You shall not use, consume, or possess alcohol, any product containing
        alcohol, or other intoxicants, including medication, unless prescribed to you by a physician and under the
        direction of Pretrial Services. Obtain an alcohol/substance abuse evaluation and follow any treatment
        recommendations as directed by Pretrial Services. You shall participate as directed in a program approved
        by the probation and pretrial services office for treatment of narcotic addiction, drug dependency, or
        substance abuse, which may include testing to determine if the defendant has reverted to the use of drugs
        or alcohol.

Nature of Noncompliance
   1. Failing to report for urinalysis testing on June 4, 2021, in violation of the special condition.

Supporting Evidence: On June 4, 2021, Ms. Channon failed to report for urinalysis testing. When confronted,
the defendant acknowledged the noncompliance, citing she ultimately forgot. I verbally reprimanded her for this
conduct and asked defense counsel to help with compliance assistance.

As a note, Ms. Channon has missed four urinalysis tests since the start of 2021, and at each instance she provided
different excuses. The defendant understands that adherence to the urinalysis testing program is important and
subsequent violations of supervision could result in more interventions.

United States Probation Officer Action:
     Reprimand
     Defense counsel contacted for compliance assistance

I consulted with Assistant United States Attorney Todd Greenberg, as well as defense counsel, Vanessa Pai-
Thompson, and they concur with my recommendation.

I respectfully recommend that the Court endorse the actions taken at this time.
                 Case 2:20-cr-00129-JCC Document 62 Filed 06/10/21 Page 3 of 3

The Honorable Brian A. Tsuchida, United States Magistrate Judge                                         Page 3
Report on Defendant Under Pretrial Services Supervision                                              6/10/2021

I swear under penalty of perjury that                APPROVED:
the foregoing is true and correct.                   Monique D. Neal
                                                     Chief United States Probation and Pretrial Services Officer
Executed on this 10th day of June, 2021.             BY:


A                                                    A
Mike Munsterman                                      Patrick E. Robertson
United States Probation Officer                      Supervising United States Probation Officer

                         THE COURT FINDS PROBABLE CAUSE AND DIRECTS:
   Judicial Officer endorses the United States Probation Officer’s actions
   Issue a Summons
   Issue a Warrant
   Other




                                                         Brian A. Tsuchida, United States Magistrate Judge

                                                                                Date
